Case 9:23-cr-80101-AMC Document 153 Entered on FLSD Docket 09/13/2023 Page 1 of 2




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION

                             CASE NO. 23-80101-CR-CANNON


  UNITED STATES OF AMERICA,

        Plaintiff,

  v.

  DONALD J. TRUMP,
  WALTINE NAUTA, and
  CARLOS DE OLIVEIRA,

        Defendants.
  ________________________________/

                     ORDER FOLLOWING CIPA SECTION 3 HEARING

        THIS MATTER comes before the Court following the Sealed Hearing on the Special

  Counsel’s Motions for Protective Order pursuant to Section 3 of the Classified Information

  Procedures Act (CIPA), held on September 12, 2023 [ECF No. 149].    For the reasons discussed

  during the hearing, it is hereby ORDERED AND ADJUDGED as follows:

        1. The Special Counsel’s Renewed Motion for Protective Order Pursuant to Section 3 of

            CIPA [ECF No. 84] is GRANTED as applied to former President Donald J. Trump.

        2. The Special Counsel’s Renewed Motion for Protective Order Pursuant to Section 3 of

            CIPA [ECF No. 84] is GRANTED IN PART as applied to Waltine Nauta.

        3. The Special Counsel’s Supplemental Motion for Protective Order Pursuant to Section

            3 of CIPA [ECF No. 127] is GRANTED IN PART as applied to Carlos De Oliveira.

        4. Following the discussion held during the hearing on September 12, 2023, on or before

            September 25, 2023, the Special Counsel and Messrs. Nauta, and De Oliveira each
Case 9:23-cr-80101-AMC Document 153 Entered on FLSD Docket 09/13/2023 Page 2 of 2

                                                              CASE NO. 23-80101-CR-CANNON


             shall file supplemental briefs on the ordinary meaning and scope of Section 3 of CIPA.1

             The briefs shall evaluate the text of the provision, the statutory context of CIPA as a

             whole (including the meaning of the words in Section 3 as applied throughout the

             statute), any decisional law interpreting Section 3, and any relevant historical,

             legislative, or secondary materials informing a proper understanding of Section 3.

             Included in this analysis should be a corresponding study of, and comparison to,

             Section 4 of CIPA, along with any pertinent analysis of Rule 16 of the Federal Rules

             of Criminal Procedure.2

          5. Also as discussed during the hearing, any motion to extend deadlines related to CIPA

             Section 4 [see ECF No. 83 p. 5] shall be made on or before September 22, 2023,

             following meaningful conferral.

          DONE AND ORDERED in Chambers at Fort Pierce, Florida, this 13th day of September

  2023.



                                                      _________________________________
                                                      AILEEN M. CANNON
                                                      UNITED STATES DISTRICT JUDGE


  cc:     counsel of record




  1
    Defendants Nauta and De Oliveira may submit a combined filing, noting within that filing any
  points of disagreement or defendant-specific arguments.
  2
    As acknowledged by the Special Counsel, the classified information in this case, described on
  September 12, 2023, as consisting of approximately 3,500 pages classified at various levels, is
  discoverable information pursuant to Rule 16(a)(1)(E).
                                                  2
